✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                MIDDLE                                                 DISTRICT OF                                     TENNESSEE

              ,15(5($/3$*(,1&                                                                            EXHIBIT AND WITNESS LIST
              5(17$/62)7:$5($17,75867
              /,7,*$7,21 12,, HWDO                                                                             Case Number:     PG


                                                                   PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
PRESIDING JUDGE                                                    Patrick Coughlin, Swathi Bojedla,                         Jay Srinivasan, David Cross,
 WAVERLY D. CRENSHAW, JR.                                          Steve Berman, et al.                                      Steve McIntyre, et al.
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 12/11/2023                                                         Lise Matthews                                             Melissa Seay
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   A                 12/11/2023             X                       RealPage Proven B and C Assets

   B                 12/11/2023             X                       Proven in Any Market Cycle

             C       12/11/2023             X                       A+ Performance: Student Properties Outperform the Market up to 14%




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                      Page 1 of   1   Pages

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